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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

   Erin Montgomery & Fred Montgomery,
   Individually & as h/w
   708 Belmont Rd.
   Fairless Hills, PA 19030                           NO.: 14-6366

                                Plaintiffs,
           v.


  Andrea Neale, et al.                                JURY TRIAL DEMANDED
  d/b/a Rider University
  2083 Lawrenceville Rd.
  Lawrenceville, NJ 08648
                               Defendants.

                                              ORDER

           ANDNOW,~rlt;/     si dayof/t{~              , 2015, upon consideration of Plaintiffs'

  Motion for Enlargement of Time re: Motion to Dismiss (Docket No. 29), and any response

  thereto, it is hereby ORDERED and DECREED that Plaintiffs' Motion is GRANTED, and

  Plaintiffs may respond to Defendants' Motion within seven (7) days from the date of entry of this

  Order.

           AND IT IS SO ORDERED.




                                                     ~y                                     ,J.
